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                         UNITED STATES DISTRICT COURT FOR
                        THE WESTERN DISTRICT OF WISCONSIN


CHRYSTAL EDWARDS, TERRON
EDWARDS, JOHN JACOBSON,
CATHERINE COOPER, KILEIGH
HANNAH, KRISTOPHER ROWE, KATIE
ROWE, CHARLES DENNERT, JEAN
ACKERMAN, WILLIAM LASKE, JAN                                                 Case No. 20-CV-340
GRAVELINE, TODD GRAVELINE,
ANGELA WEST, DOUGLAS WEST, and all
others similarly situated,

       Plaintiffs,

       v.

ROBIN VOS, in his official capacity as
Speaker of the Wisconsin State Assembly;
SCOTT FITZGERALD, in his official
capacity as Majority Leader of the Wisconsin
State Senate; STATE OF WISCONSIN;
WISCONSIN STATE ASSEMBLY;
WISCONSIN STATE SENATE;
WISCONSIN ELECTIONS COMMISSION;
MARGE BOSTELMANN, JULIE M.
GLANCEY, ANN S. JACOBS, DEAN
KNUDSON, ROBERT F. SPINDELL, JR.,
and MARK L. THOMSEN, in their official
capacities as members of the Wisconsin
Elections Commission, and MEAGAN
WOLFE, in her official capacity as the
Administrator of the Wisconsin Elections
Commission,

       Defendants.


                     CLASS ACTION COMPLAINT FOR DECLARATORY
                               AND INJUNCTIVE RELIEF


                                   NATURE OF THE CASE

       1.       This is a putative class action pursuant to Fed. R. Civ. P. 23 seeking declaratory as

well as remedial and prospective injunctive relief related to the April 7, 2020 Wisconsin
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Presidential Primary and Spring Election (the “Spring Election”). Despite a worldwide pandemic

involving a novel coronavirus known as COVID-19 that to date has infected more than 1.7 million

people and killed approximately 107,000 individuals worldwide, the Wisconsin Legislature made

up of the Wisconsin State Assembly and Wisconsin State Senate and led by Defendants Robin Vos

and Scott Fitzgerald (collectively, the “Legislative Defendants”), chose politics over the interests

of all Wisconsin citizens in an intentional and self-serving attempt to disenfranchise thousands of

voters in the Spring Election. While this District is no stranger to the pre-election dispute that

called attention to the enormous indignity of forcing Wisconsin voters to the polls last Tuesday,

this action is directed at the now-established harm that came about as a result of the Legislative

Defendants’ action and inaction.

       2.        Plaintiffs seek relief for violations of their right to vote, protected by the First

Amendment to the U.S. Constitution and by their Fourteenth Amendment right to equal protection

of the laws, pursuant to 42 U.S.C. § 1983; their rights under Section 2 of the Voting Rights Act

(codified at 52 U.S.C. § 10101 et seq.); and in accordance with the voting provisions of the

Americans with Disabilities Act (codified at 42 U.S.C. § 12101 et seq.). Each of the representative

plaintiffs tells a story about how the Legislative Defendants’ insistence on conducting the Spring

Election during the pandemic left them disenfranchised and unable to exercise their fundamental

right to vote without impairment of that choice. This lawsuit demonstrates that there is no

compelling justification, let alone rational basis, for the Wisconsin Legislature to have refused to

take action in rescheduling the election despite full knowledge of the inherent risks to the electorate

of proceeding.

       3.        Voting is a fundamental right guaranteed by the U.S. Constitution as the United

States Supreme Court told us long ago in Reynolds v. Sims, 477 U.S. 533 (1964):




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       Undeniably the Constitution of the United States protects the right of all qualified
       citizens to vote, in state as well as in federal elections. A consistent line of decisions
       by this Court in cases involving attempts to deny or restrict the right of suffrage has
       made this indelibly clear. It has been repeatedly recognized that all qualified voters
       have a constitutionally protected right to vote, Ex parte Yarbrough, 110 U.S.
       651, 4 S.Ct. 152, 28 L.Ed. 274, and to have their votes counted, United States v.
       Mosley, 238 U.S. 383, 35 S.Ct. 904, 59 L.Ed. 1355. In Mosley the Court stated that
       it is ‘as equally unquestionable that the right to have one's vote counted is as open
       to protection . . . as the right to put a ballot in a box.’ 238 U.S., at 386, 35 S.Ct., at
       905. The right to vote can neither be denied outright, Guinn v. United States,
       238 U.S. 347, 35 S.Ct. 926, 59 L.Ed. 1340, Lane v. Wilson, 307 U.S. 268, 59 S.Ct.
       872, 83 L.Ed. 1281, nor destroyed by alteration of ballots, see United States v.
       Classic, 313 U.S. 299, 315, 61 S.Ct. 1031, 1037, 85 L.Ed. 1368, nor diluted by
       ballot-box stuffing Ex parte Siebold, 100 U.S. 371, 25 L.Ed. 717, United States v.
       Saylor, 322 U.S. 385, 64 S.Ct. 1101, 88 L.Ed. 1341. As the Court stated in Classic,
       ‘Obviously included within the right to choose, secured by the Constitution, is the
       right of qualified voters within a state to cast their ballots and have them
       counted . . . .’ 313 U.S., at 315, 61 S.Ct., at 1037. Racially based
       gerrymandering, Gomillion v. Lightfoot, 364 U.S. 339, 81 S.Ct. 125, 5 L.Ed.2d
       110, and the conducting of white primaries, Nixon v. Herndon, 273 U.S. 536, 47
       S.Ct. 446, 71 L.Ed. 759, Nixon v. Condon, 286 U.S. 73, 52 S.Ct. 484, 76 L.Ed.
       984, Smith v. Allwright, 321 U.S. 649, 64 S.Ct. 757, 88 L.Ed. 987, Terry v. Adams,
       345 U.S. 461, 73 S.Ct. 809, 97 L.Ed. 1152, both of which result in denying to some
       citizens their right to vote, have been held to be constitutionally impermissible.

                                                 ***

       Undoubtedly, the right of suffrage is a fundamental matter in a free and
       democratic society. Especially since the right to exercise the franchise in a free and
       unimpaired manner is preservative of other basic civil and political rights, any
       alleged infringement of the right of citizens to vote must be carefully and
       meticulously scrutinized. Almost a century ago, in Yick Wo v. Hopkins, 118 U.S.
       356, 6 S.Ct. 1064, 30 L.Ed. 220, the Court referred to ‘the political franchise of
       voting’ as ‘a fundamental political right, because preservative of all
       rights.’ 118 U.S., at 370, 6 S.Ct., at 1071. Legislators represent people, not trees
       or acres. Legislators are elected by voters, not farms or cities or economic interests.
       As long as ours is a representative form of government, and our legislatures are
       those instruments of government elected directly by and directly representative of
       the people, the right to elect legislators in a free and unimpaired fashion is a
       bedrock of our political system.

       4.      The Legislative Defendants understood the dangers of COVID-19 before the Spring

Election and cavalierly (and for clearly political reasons) refused to take action to postpone the

election, which decision runs counter to every credible public health pronouncement about



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COVID-19 in the United States and the decisions of at least 18 other states and territories which

followed the direction of doctors, scientists, epidemiologists, virologists, infectious disease

specialists, and public health experts by making alternative arrangements for their spring elections.

        5.      Through this action, Plaintiffs seek, on behalf of themselves and each class member

that they seek to represent, the unimpaired right to vote in the Spring Election, which right was

denied to them last Tuesday. Specifically, they ask the Court to create a Class and specified sub-

classes as asserted in this Complaint and order the following:

             a. A statewide revote akin to that established in McNally v. Tollander, 100

                Wis. 2d 490, 302 N.W.2d 440 (1981);

             b. Mail-in voting procedures to allow all registered and unregistered voters in

                the State of Wisconsin who either (a) did not vote in the Spring Election;

                (b) sought to vote absentee but did not receive a ballot despite requesting

                one from the State of Wisconsin prior to April 7, 2020; or (c) completed and

                delivered via U.S. Mail or in person an absentee ballot that is now invalid

                based on either the April 3, 2020 decision of the United States Court of

                Appeals for the Seventh Circuit or subsequent April 6, 2020 decision of the

                United States Supreme Court in the matter generally known as Republican

                National Committee, et al. v. Democratic National Committee, 19A1016,

                589 U.S. ___ (2020) (the “Pre-Election Litigation”).

        6.      For the reasons alleged in this Complaint, Plaintiffs further seek prospective relief

to protect the voting franchise for the electors seeking to participate in all other elections scheduled

in Wisconsin this year. This includes (a) the May 12, 2020 Special Election for Congressional

District 7; (b) the August 11, 2020 Partisan Primary; and (c) the November 3, 2020 General and




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Presidential Election. As recently as the evening of April 10, 2020, Dr. Anthony Fauci, the head

of the National Institute of Allergy & Infectious Diseases and a member of President Trump’s

Coronavirus Task Force, stated only that it was his “hope” that “by November we would have

things under such control that we could have a real degree of normality.” COVID-19 is a pervasive

and silent enemy and there simply is no medical or scientific certainty that “normality” will exist

as of the time this Country votes on November 3, 2020.

       7.      Wisconsin voters deserve orderly process and procedures to vote this year that do

not obligate them to choose between risking (or being terrified for) their lives (guaranteed against

State interference to each of them pursuant to the Fourteenth Amendment of the U.S. Constitution)

and their fundamental right to vote, which since the Supreme Court’s 1886 decision in Yick Wo

has been recognized as a fundamental element of citizenship for all qualified citizens in the United

States. Because there is no compelling justification or rational basis for the Legislative Defendants’

insistence on pursuing the Spring Election or any election this year in a manner that forces voters

to choose between their health and their right to vote, Plaintiffs ask the Court to establish fair

procedures to remedy the past wrongs associated with the Spring Election and to ensure their rights

are not abridged in future elections in 2020 while the pandemic runs its course.

                                 JURISDICTION AND VENUE

       8.      This Court has subject matter jurisdiction over Plaintiffs’ claims pursuant to 28

U.S.C. §§ 1331 and 1343 and 42 U.S.C. § 12133 because this action arises under the U.S.

Constitution and federal statutory law. It seeks relief for the Plaintiffs based on a deprivation of

constitutional and federally guaranteed statutory rights. Defendants have taken action, and refused

to act, under color of state law. Jurisdiction further vests pursuant to 42 U.S.C. §§ 1983 and 1988;




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52 U.S.C. § 10101 et seq.; and 42 U.S.C. § 12101 et seq. Because this action seeks declaratory

relief, the Court is further authorized to grant such relief pursuant to 28 U.S.C. § 2201 et seq.

       9.      The Court has personal jurisdiction over each and every Defendant as they are all

state actors who have been sued in their official capacities based on their conduct surrounding the

Spring Election. All of the Defendants are state officials who reside in Wisconsin and work in

their official capacities in and around Madison, Wisconsin.

       10.     Venue is appropriate in this District pursuant to 28 U.S.C. § 1391(b)(1) because all

Defendants reside in Wisconsin and one or more of them resides in this judicial district. In addition,

venue is proper in this district because a substantial part of the events giving rise to these claims

occurred in this district as contemplated by 28 U.S.C. § 1391(b)(2).

                                             PARTIES

Plaintiffs

       11.     Plaintiffs Chrystal and Terron Edwards are 37 and 40 years old, respectively. They

are married adults and African American residents of Milwaukee, Wisconsin. They vote regularly

in state and local elections. Terron is also diabetic. They have three children residing with them;

their son has spina bifida and a daughter has asthma. Both because of race and illness they are at

high risk of contracting and transmitting COVID-19. They educated themselves as much as

possible about the pandemic and the government reaction to the pandemic. They were not able to

vote early; while they did order absentee ballots in mid-March 2020, they never received them.

The Edwards did not vote in person in the Spring Election due to health and safety concerns of

illness or death, for themselves, their family, and the community. They were also very concerned

about the very few polling places – only 5 (out of a typical 180) throughout the City of Milwaukee

– and the high numbers of voters going to each one. They usually vote at a nearby polling place

on Green Bay Avenue, but for the Spring Election they would have gone to Riverside High School.


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The Edwards are adequate class representatives within the meaning of Fed. R. Civ. P. 23(a)(4) and

are prepared to represent one or more of the sub-classes defined in paragraphs 71 and 72(a)-(h) of

this Complaint.

       12.     Plaintiff John Jacobson is an adult resident of Milwaukee, Wisconsin. He is a

teacher at Shorewood High School in the areas of social studies, politics, and history. He votes

regularly in state and local elections. He ordered an absentee ballot for the Spring Election on or

about March 18, 2020 and requested that it be sent to his family home in Southern Illinois. He was

in Illinois before and on April 7, 2020, because he needed to care for his elderly parents during the

COVID-19 pandemic. He was available to do so because Governor Evers closed all the public

schools as part of his efforts to promote “social distancing” during the pandemic. Mr. Jacobson’s

ballot never came, and he was not able to vote in the Spring Election. Mr. Jacobson is an adequate

class representative within the meaning of Fed. R. Civ. P. 23(a)(4) and is prepared to represent one

or more of the sub-classes defined in paragraphs 71 and 72(a)-(h) of this Complaint.

       13.     Plaintiff Catherine Cooper is an adult resident of Fox Point, Wisconsin. She votes

regularly in state and local elections. Ms. Cooper requested an absentee ballot from the State of

Wisconsin before the Spring Election. The ballot never came. Ms. Cooper did vote in the Spring

Election but was torn doing so because of the health risks of COVID-19; more specifically, her

mother who has compromised lungs and other health issues lives with her and she was concerned

about exposing her mother to the virus. Ms. Cooper is an adequate class representative within the

meaning of Fed. R. Civ. P. 23(a)(4) and is prepared to represent one or more of the sub-classes

defined in paragraphs 71 and 72(a)-(h) of this Complaint.

       14.     Kileigh Hannah is an adult resident of Fox Point, Wisconsin. She votes regularly in

state and local elections. Ms. Hannah ordered an absentee ballot on or about March 22, 2020 and




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the ballot never came. She and her husband were out of town at their cottage until just before the

Spring Election. Ms. Hannah has multiple sclerosis and is immunosuppressed, so she is at a very

high risk for contracting the COVID-19 virus and for life-threatening complications if she did. She

was unable to vote because of her disability and fear of death or sickness. Ms. Hannah is an

adequate class representative within the meaning of Fed. R. Civ. P. 23(a)(4) and is prepared to

represent one or more of the sub-classes defined in paragraphs 71 and 72(a)-(h) of this Complaint.

       15.     Plaintiffs Kristopher and Katie Rowe are adult residents of Glendale, Wisconsin.

They regularly vote in state and local elections. The Rowes each ordered absentee ballots for the

first time in the Spring Election and received them by mail. They completed and mailed their

ballots back on April 1, 2020. Upon checking Wisconsin’s online database, there is no record of

either of them voting since the February 18, 2020 election. Upon information and belief, despite

their compliance with every facet of the law, their ballots were never received by elections

authorities and they will not count. The Rowes are adequate class representatives within the

meaning of Fed. R. Civ. P. 23(a)(4) and are prepared to represent one or more of the sub-classes

defined in paragraphs 71 and 72(a)-(h) of this Complaint.

       16.     Plaintiff Charles Dennert is an adult resident of Milwaukee, Wisconsin. He is a

sophomore at Marquette University and usually votes. He ordered an absentee ballot on March 24,

2020, but never received it. In April, he was temporarily staying in his family home in Waukesha,

Wisconsin, recovering from a fractured leg and was unable to drive. He had no means of

transportation to his Milwaukee polling location in order to vote and was therefore unable to vote

in the Spring Election. Mr. Dennert is an adequate class representative within the meaning of Fed.

R. Civ. P. 23(a)(4) and is prepared to represent one or more of the sub-classes defined in paragraphs

71 and 72(a)-(h) of this Complaint.




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       17.     Plaintiff Jean Ackerman is 89 years old and an adult resident of Milwaukee,

Wisconsin. Ms. Ackerman votes in regularly in state and local elections. She is mentally sharp but

has physical health issues and is not mobile. Ms. Ackerman ordered an absentee ballot before the

Spring Election, but never received it. She was unable to vote because of fear of illness or death

due to COVID-19 and her mobility issues. Ms. Ackerman also did not want to risk the health of

others around her. Ms. Ackerman is an adequate class representative within the meaning of Fed.

R. Civ. P. 23(a)(4) and is prepared to represent one or more of the sub-classes defined in paragraphs

71 and 72(a)-(h) of this Complaint.

       18.     Plaintiff William Laske is an adult resident of Milwaukee, Wisconsin. He regularly

votes in state and local elections. He ordered an absentee ballot on March 20, 2020, but never

received it; he did receive a mailing on March 25, 2020 confirming that the request had been

received. He called the Milwaukee Election Commission on April 6, 2020, the day before the

Spring Election, and was put on hold for over an hour; he ultimately was told that his ballot was

mailed out on March 22, 2020. The election official he spoke to told Mr. Laske he could vote in

person, or he had until April 14, 2020 to deliver a ballot to the Zablocki Library polling site. The

latter option became unavailable because of the United States Supreme Court’s April 6, 2020

decision reversing the April 2, 2020 decision of the Honorable William M. Conley. Mr. Laske has

a respiratory disease and is on immune-suppressant medication and oxygen; exposure to the

COVID-19 virus would likely kill him. He ultimately did not vote because he would not risk illness

or death. Mr. Laske is an adequate class representative within the meaning of Fed. R. Civ. P.

23(a)(4) and is prepared to represent one or more of the sub-classes defined in paragraphs 71 and

72(a)-(h) of this Complaint.




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       19.     Plaintiffs Jan and Todd Graveline are adult residents of Milwaukee, Wisconsin;

they are married. The Gravelines regularly vote in state and local elections. They ordered absentee

ballots before the Spring Election, but never received them. On April 7, 2020, the Gravelines

decided to try to vote in person and went to Riverside High School to do so. Ms. Graveline did

vote; while standing in line, Mr. Graveline grew concerned with the number of people in line and

their proximity him. Out of fear of contracting the COVID-19 virus, Mr. Graveline decided to

leave the polling site because he feared illness or death. He did not vote as a result. The Gravelines

are adequate class representatives within the meaning of Fed. R. Civ. P. 23(a)(4) and are prepared

to represent one or more of the sub-classes defined in paragraphs 71 and 72(a)-(h) of this

Complaint.

       20.     Plaintiffs Angela and Douglas West are 61 and 55 years old, respectively. They are

adult African American residents of Milwaukee, Wisconsin. Mr. West is disabled with a lung and

heart condition; he uses oxygen on a regular basis. Ms. West works in the healthcare field. The

Wests regularly vote in state and local elections. They usually vote at a school just three blocks

from their house, but due to the limitations on the number of polling locations in the City of

Milwaukee for the Spring Election, they would have had to travel to Washington High School to

exercise their franchise. The Wests ultimately chose not to vote out of concerns for their safety.

The Wests are adequate class representatives within the meaning of Fed. R. Civ. P. 23(a)(4) and

are prepared to represent one or more of the sub-classes defined in paragraphs 71 and 72(a)-(h) of

this Complaint.

Defendants

       21.     Defendant Robin Vos (“Vos”) is, pursuant to Section IV, Article 4 of the Wisconsin

Constitution, a duly elected member of the Wisconsin State Assembly, the lower house in the




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Wisconsin Legislature established pursuant to Article IV, Section 1 of the Wisconsin Constitution.

Vos serves as Speaker of the Assembly pursuant to Wis. Stat. §§ 13.13(1) and 13.46(1). As

Speaker, Vos controls the legislative agenda in the Assembly and maintains the authority to close

down debate and votes considered by the Assembly. Vos is sued in his official capacity.

        22.     Defendant Scott Fitzgerald (“Fitzgerald”) is, pursuant to Section IV, Article 5 of

the Wisconsin Constitution, a duly elected member of the Wisconsin State Senate, the upper house

in the Wisconsin Legislature established pursuant to Article IV, Section 1 of the Wisconsin

Constitution. Fitzgerald serves as Majority Leader of the Senate pursuant to Wis. Stat. §§ 13.13(3)

and 13.46(1). As Majority Leader, Fitzgerald controls the legislative agenda in the Senate and

maintains the authority to close down debate and votes considered by the Senate. Fitzgerald is sued

in his official capacity.

        23.     Defendant State of Wisconsin (“Wisconsin” or the “State”) was the thirtieth state

to join what had become known as the United States; it did so in 1848. Wisconsin is a political

entity, the elected and appointed officials of which are charged with the responsibility to represent

all of the citizens of the State consistent with obligations imposed on them by the Constitution of

the State of Wisconsin and the U.S. Constitution.

        24.     Defendant Wisconsin State Assembly (the “Assembly”) is the lower house in the

Wisconsin Legislature established pursuant to Article IV, Section 1 of the Wisconsin

Constitution. Its leadership is controlled by Vos.

        25.     Defendant Wisconsin State Senate (the “Senate”) is the upper house in the

Wisconsin Legislature established pursuant to Article IV, Section 1 of the Wisconsin Constitution.

Its leadership is controlled by Fitzgerald.




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        26.     Defendant Wisconsin Elections Commission (the “Commission”) is a

governmental agency created under Wis. Stat. § 5.05. It administers and enforces Wisconsin

election laws and is made up of six members. Four are appointed by Wisconsin’s four legislative

leaders and two are appointed by the Governor. The Commission staff is non-partisan. The

Commission has its offices and principal place of business at 212 E. Wisconsin, Third Floor,

Madison, WI, 53703.

        27.     Defendant Marge Bostelmann (“Bostelmann”) is a member in good standing of the

Commission. Bostelmann resides in Green Lake, Wisconsin and was appointed to the Commission

by then-Governor Scott Walker. Her term ends on May 1, 2024. Bostelmann is sued in her official

capacity.

        28.     Defendant Julie M. Glancey (“Glancey”) is a member in good standing of the

Commission and its Secretary. Glancey resides in Sheboygan Falls, Wisconsin and was appointed

to the Commission by Governor Tony Evers. Her term ends on May 1, 2021. Glancey is sued in

her official capacity.

        29.     Defendant Ann S. Jacobs (“Jacobs”) is a member in good standing of the

Commission. Jacobs resides in Milwaukee, Wisconsin and was appointed to the Commission by

Senate Minority Leader Jennifer Shillings. Her term ends on May 1, 2021. Jacobs is sued in her

official capacity.

        30.     Defendant Dean Knudson (“Knudson”) is a member in good standing of the

Commission and its Chairman. Knudson resides in Hudson, Wisconsin and was appointed to the

Commission by Vos. His term ends on May 1, 2024. Knudson is sued in his official capacity.




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        31.     Defendant Robert F. Spindell, Jr. (“Spindell”) is a member in good standing of the

Commission. Spindell resides in Milwaukee, Wisconsin and was appointed to the Commission by

Fitzgerald. His term ends on May 1, 2021. Spindell is sued in his official capacity.

        32.     Defendant Mark L. Thomsen (“Thomsen”) is a member in good standing of the

Commission. Thomsen resides in Milwaukee, Wisconsin and was appointed to the Commission

by Assembly Minority Leader Gordon Hintz. His term ends on May 1, 2024. Thomsen is sued in

his official capacity.

        33.     Defendant Meagan Wolfe (“Wolfe”) is the Administrator of the Commission.

Wolfe resides in Madison, Wisconsin and oversees the Commission’s work as a non-partisan

employee. Wolfe is sued in her official capacity.

                                  FACTUAL BACKGROUND

COVID-19 and the Novel Coronavirus

        34.     On December 31, 2019, medical officials in Wuhan City, Hubei Province of China

(“Wuhan”) reported to the China Country Office of the World Health Organization (“WHO”)

about cases of pneumonia with unknown cause. Within four days, Wuhan had a total of 44 patients

fitting this description. By January 7, 2020, Chinese authorities had isolated the disease as a novel

coronavirus. The term “coronavirus” applies to a large group of viruses that cause disease in

animals and humans. They often circulate among camels, cats, and bats. Sometimes they evolve

and affect human beings. WHO named the novel coronavirus “COVID-19” on February 11, 2020

and we use that term in this Complaint to refer to the disease giving rise to the current global

pandemic affecting Wisconsin.

        35.     On January 20, 2020, a 35-year old man from Seattle, Washington was diagnosed

with COVID-19, the first such case identified in the United States. In its first “Situation Report” a

day later, WHO informed that there were 282 known cases of COVID-19 worldwide; most of those


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cases were in various Chinese provinces but a few others existed in Japan, Korea, and Thailand.

The Seattle case obviously had just entered the data set and did not make WHO’s first published

report. By the time of WHO’s publication, six individuals had died of COVID-19. On January 30,

2020, WHO declared COVID-19 a Public Health Emergency of International Concern.

       36.     COVID-19 took off like a rocket. By March 11, 2020, WHO reported that there

were more than 118,000 cases of the disease worldwide in at least 110 countries and territories,

with great concern about a sustained risk of global spread. That day, WHO classified COVID-19

as a pandemic, which the U.S. Centers for Disease Control (“CDC”) defines as follows:

       Pandemics happen when new (novel) . . . viruses emerge which are able to infect
       people easily and spread from person to person in an efficient and sustained way.
       Because the virus is new to humans, very few people will have immunity against
       the pandemic virus, and a vaccine might not be widely available. The new virus
       will make a lot of people sick. How sick people get will depend on the
       characteristics of the virus, whether or not people have any immunity to that virus,
       and the health and age of the person being infected.

CDC     Website,    accessed    on    April   11,    2020    at   https://www.cdc.gov/flu/pandemic-

resources/basics/index.html. Dr. Tedros Adhanom Ghebreyesus, WHO Director-General, said at

the time of the pandemic declaration: “This is not just a public health crisis, it is a crisis that will

touch every sector. So every sector and every individual must be involved in the fights.” Jamie

Ducharme, “World Health Organization Declares COVID-19 a ‘Pandemic:’ Here’s What That

Means,” Time, March 11, 2020, accessed on April 11, 2020 at https://time.com/5791661/who-

coronavirus-pandemic-declaration/.

       37.     COVID-19 is a disease that spreads exponentially and has demonstrated its ability

to transmit easily among the population, often without detection, with the ability to wreak havoc

on healthcare resources throughout the world. For these reasons (and others), on March 12, 2020

Wisconsin Governor Tony Evers declared a public health emergency to direct all resources needed




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to respond to and contain COVID-19 in Wisconsin. The following day, President Donald J. Trump

declared a National Emergency concerning the pandemic.

       38.        The prophecy of WHO’s Dr. Ghebreyesus seems quite obvious in hindsight. A

mere month after WHO’s declaration of a pandemic, Johns Hopkins University (Coronavirus

Resource Center) (the “JHU Website”) reported a total of 1,754,457 COVID-19 cases worldwide

and 107,520 deaths.           See JHU Website, last accessed on April 11, 2020 at

https://gisanddata.maps.arcgis.com/apps/opsdashboard/index.html#/bda7594740fd40299423467

b48e9ecf6.

       39.        As of April 11, 2020, the JHU Website reported 514,415 COVID-19 cases in the

United States with 18,586 deaths. According to the Wisconsin Department of Public Health

Services (the “DHS”), there have been 3,213 laboratory-confirmed COVID-19 cases in Wisconsin

with    137        deaths.    DHS        Website,        accessed    on    April    11,   2020   at

https://www.dhs.wisconsin.gov/outbreaks/index.htm. Just as with the rest of the world, Wisconsin

is experiencing exponential growth in COVID-19; as of March 15, 2020, Wisconsin had no

reported cases, but as these graphs from the DHS website demonstrate new cases and deaths are

climbing exponentially on a daily basis:

  Updated: 4/11/2020

   3,500                                                                    3,213
   3,000
   2,500
   2,000
   1,500
   1,000
     500
       0
           3/15        3/20       3/25         3/30            4/4        4/9
       Cumulative total cases        Newly reported cases


                                                    15
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       150                                                              137

       100


        50


         0
        3/15         3/20      3/25        3/30        4/4        4/9

          Cumulative total deaths      Newly reported deaths

         40.    The data being exchanged by scientists and medical professionals are largely

incomplete and likely understate the number of people who are and have been infected with

COVID-19, because a large number of individuals who have the disease are believed to be

asymptomatic. For example, the Centre for Evidence-Based Medicine at Oxford University in

England studied the proportion of COVID-19 carriers who were either entirely asymptomatic or

presenting mild symptoms and concluded that between 5 and 80 percent of people testing positive

for the disease may be asymptomatic. See Carl Heneghan, Jon Brassey, and Tom Jefferson,

COVID-19: What Proportion are Asymptomatic, Centre for Evidence Based Medicine, accessed

on     April   11,     2020   at    https://www.cebm.net/covid-19/covid-19-what-proportion-are-

asymptomatic/. For example, 18 percent of those who tested positive for COVID-19 on the

Diamond Princess Cruise showed no symptoms, as did 57 percent of the residents at the King

County, Washington long-term care facility where the disease first took hold in the United States.

Whether the number of asymptomatic individuals is on the low range (five percent) or the high

range (80 percent), it is quite clear that many people are carrying COVID-19 without knowing it.

The result is that hundreds of thousands of people around the world are presently ensuring the


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disease’s ongoing spread, despite a growing effort by governments around the world to “flatten

the curve.”

       41.      The wildly disparate data on who presents with symptoms illustrates an even larger

point about COVID-19, namely the inaccuracy of testing to date with false positives and negatives

as well as the inability to test populations on a larger scale to gain knowledge about the contagion

and how best to isolate it. See Sheila Kaplan and Katie Thomas, “Despite Promises, Testing

Delays Leave Americans ‘Flying Blind,’” New York Times, April 6, 2020, last accessed on April

11, 2020 at https://www.nytimes.com/2020/04/06/health/coronavirus-testing-us.html.

       42.      While science is still catching up to the virus, we also know that COVID-19

presents a life-threatening challenge to certain highly vulnerable segments of the population.

Those over the age of 65; with lung conditions (including chronic asthma); who are immune-

compromised (such as cancer patients, those with HIV/AIDS, and those on immunosuppressant

medication for diseases such as rheumatoid arthritis); diabetic or pre-diabetic patients; those

suffering from chronic kidney or liver disease; individuals living in long-term nursing facilities;

and those with a body mass index of over 40 are all particularly vulnerable to this virus based on

the medical community’s experiences on the frontlines of the fight. In Wisconsin, DHS has been

recommending for more than a month that individuals in these groups, in particular, stay home to

avoid exposing themselves to COVID-19. See DHS Website, “COVID-19: Are You at Higher

Risk of Serious Illness,” last accessed on April 11, 2020 at https://www.dhs.wisconsin.gov/covid-

19/risks.htm.

       43.      With full knowledge of the medical confusion on who is carrying the disease in

Wisconsin, how easily it transmits from person to person, and the deadly and seemingly random

nature of COVID-19, the Legislative Defendants nevertheless intentionally chose to shirk their




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oaths of office, do nothing to postpone the Spring Election, and disenfranchise a large segment of

Wisconsin’s population in the process. The Commission, and the Defendants named in this

Complaint who were charged with running and administering the Spring Election on its behalf,

sent a large segment of Wisconsin’s 5,822,000 citizens to vote in person in a statewide election

involving, among other things, the 2020 presidential nomination and a Wisconsin Supreme Court

seat, amidst the first pandemic of this scale since the 1918 influenza that killed approximately 50

million people worldwide.     This is remarkable, as 18 other states and territories (Alaska,

Connecticut, Delaware, Georgia, Hawaii, Indiana, Kentucky, Louisiana, Maryland, Montana, New

Jersey, New York, Ohio, Pennsylvania, Rhode Island, West Virginia, Wyoming, and Puerto Rico)

deemed it reasonable and necessary to postpone or alter the approach to their spring elections

because of the risk to public health due to the COVID-19 situation.

Wisconsin’s Safer at Home Order

       44.     The first COVID-19 diagnosis in Wisconsin occurred on March 15, 2020. On

March 24, 2020, Governor Evers announced that he intended to enter an executive order setting

forth the rules by which citizens of Wisconsin would be allowed to engage with each other during

the term of the order. The following day Andrea Palm, the Secretary-Designee of Wisconsin’s

DHS, entered Emergency Order No. 12 (the “Safer at Home Order”) at the direction and with the

authority of the Governor, which took effect at 8:00 a.m. on March 25, 2020. The Safer at Home

Order authorizes law enforcement to enforce it, the violation of which is punishable up to 30 days

imprisonment or up to a $250 fine, or both.                    A copy of the order is at

https://evers.wi.gov/Documents/COVID19/EMO12-SaferAtHome.pdf, last accessed on April 11,

2020. Plaintiffs hereby incorporate by reference into this Complaint the Safer at Home Order.




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        45.      The Safe at Home Order makes a number of findings and orders that are relevant

to this litigation. They include:

              a. Establishing that “social distancing,” the practice of keeping at least six feet apart

                 from others and avoiding direct physical contact, is the only effective means of

                 slowing the rate of COVID-19 infections (Safer at Home Order, pp. 2);

              b. Concluding that, despite prior emergency orders from Wisconsin and elsewhere

                 banning mass gatherings, the rates of infection continue to drastically increase such

                 that additional measures were needed to slow the rate of COVID-19 infections in

                 Wisconsin (Safer at Home Order, pp. 2);

              c. Prohibiting all non-essential businesses and operations from remaining open during

                 the crisis and limiting all public and private gatherings of any number of people not

                 part of a single household (Safer at Home Order, pp. 3);

              d. Closing public schools and libraries, public amusement, and salons and spas (Safer

                 at Home Order, pp. 4);

              e. Imposing an obligation on all citizens of Wisconsin to follow DHS and CDC

                 guidelines regarding COVID-19 care (Safer at Home Order, pp. 4);

              f. Obligating those “at high risk of severe illness from COVID-19 and people who

                 are sick . . . to stay in their home or residence to the extent possible except as

                 necessary to seek medical care;” (Safer at Home Order, pp. 4);

              g. Identifying “essential” activities, governmental functions, and businesses and

                 operations (Safer at Home Order, pp. 2, 7-14);

              h. Exempting healthcare and public health operations, human service operations, and

                 essential infrastructure from the effects of the order (Safer at Home Order, pp. 6);




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             i. Establishing the meaning of “essential” travel (Safer at Home Order, pp. 2, 15);

             j. Implementing minimum basic operational rules for how “essential” businesses and

                 government functions should operate during the term of the order (Safer at Home

                 Order, pp. 2, 15); and

             k. Requiring all persons residing in Wisconsin to follow “social distancing” rules,

                 including maintaining appropriate distancing from each other and washing their

                 hands in a manner provided within the order (Safer at Home Order, pp. 15-16.)

       46.       While Wisconsin’s court system and its personnel were exempt from the order,

Governor Evers acknowledged the Wisconsin Supreme Court’s authority over how to manage

COVID-19 and the caseload in all 72 circuit courts of Wisconsin. Presently, the Wisconsin

Supreme Court has closed down substantially all jury trials through May 22, 2020, and most other

in-person proceedings through at least April 30, 2020. This Court and the Eastern District of

Wisconsin have imposed similar restrictions on in-person activities such as oral argument and

hearings. Other court systems throughout the nation have imposed similar restrictions consistent

with the public health need to practice “social distancing.”

       47.       In what can only be the height of irony in this particular case, the Wisconsin

Supreme Court and the United States Supreme Court met virtually to consider and decide their

respective April 6, 2020 orders allowing the Spring Election to proceed uninterrupted as if no

pandemic was occurring. Without considering the legal basis for those orders, they create a

paradox— i.e. that judges are entitled to be safe from COVID-19 and obligated to follow social

distancing requirements but the Wisconsin electorate is obligated to violate the Safer at Home

Order to vote.




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The Pre-Election Litigation and the Governor’s Order to Postpone

       48.     On March 18, 2020, the Democratic National Committee and Democratic Party of

Wisconsin filed an action seeking to modify Wisconsin’s approach to the Spring Election in a

matter captioned Democratic National Committee, et al. v. Bostelmann, et al., Case No. 3:200cv-

00249-wmc (W.D. Wis.) (the “DNC Litigation”). On March 26, 2020, Reverend Greg Lewis of

Souls to the Polls and a host of others filed for similar relief in a matter captioned Lewis, et al. v.

Knudson, et al., Case No. 3:20-cv-00284-wmc (W.D. Wis.); the plaintiffs in that case specifically

sought to postpone the Spring Election. That same day, Sylvia Gear and others filed a similar

lawsuit in a matter captioned Gear, et al. v. Knudson, Case No. 3:20-cv-00278 (W.D. Wis.). These

cases (collectively the “Pre-Election Litigation”) sought, among other things, to postpone the

Spring Election due to concerns with in-person voting during the COVID-19 crisis and to adjust

absentee balloting procedures to enable Wisconsin voters to use mail-in procedures to exercise

their right to vote without fear of contracting a potentially lethal disease.

       49.     On March 20, 2020, the district court presiding over the DNC Litigation extended

the deadline to register to vote electronically from March 18, 2020 to March 30, 2020. It concluded

that the burden imposed on the State to extend the deadline to allow would-be voters to register to

vote electronically was outweighed by the value of allowing such voters additional time to register

electronically in the face of evidence suggesting that in-person registration was restricted due to

public health concerns about COVID-19 transmission. In so deciding, the district court heard

evidence showing that 11 to 12 percent of unregistered voters in previous elections had registered

at their polling place on the day of the election.

       50.     As the COVID-19 crisis continued to escalate, on March 27, 2020 Governor Evers

urged the Wisconsin Legislature to enact legislation allowing absentee ballots to be sent to every




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registered voter. While he had the authority to order the Wisconsin Legislature into session, the

Governor encouraged the Legislative Defendants to serve the greater good, stating: "This is not a

Republican issue or a Democratic issue—this is an issue of democracy. I don’t care who gets the

credit, I just want to make sure that everyone has the chance to vote this April. We don’t have time

for politics—we have to get this done, folks."

       51.     Defendants Fitzgerald and Vos never took the Governor up on his request and

refused to call the Assembly and Senate into session to consider an alternative approach to the

Spring Election. Instead, the next day, on March 28, 2020 they admonished Dane County Clerk

Scott McDonell and Milwaukee County Clerk George Christenson for advising voters who wanted

absentee ballots, but were unable to upload an image of a photo ID to obtain one (a requirement

on the website where such requests were made), to deem themselves “indefinitely confined,”

which classification would exempt them from the image-uploading requirement. The clerks had

been advising people that the Safer at Home Order meant everyone is indefinitely confined, which

Defendants Vos and Fitzgerald belittled.

       52.     On April 2, 2020, the district court presiding over the Pre-Election Litigation

rendered a decision on the motions and relief sought by the plaintiffs in those three (now

consolidated) cases. Before rendering that decision, Judge Conley discussed the consequences of

the Wisconsin Legislature’s refusal to postpone the Spring Election:

       [T]he three most likely consequences of proceeding with the election on this basis
       are (1) a dramatic shortfall in the number of voters on election day as compared to
       recent primaries, even after accounting for the impressive increase in absentee
       voters, (2) a dramatic increase in the risk of cross-contamination of the coronavirus
       among in-person voters, poll workers and, ultimately, the general population in the
       State, or (3) a failure to achieve sufficient in-person voting to have a meaningful
       election and an increase in the spread of COVID-19. Nevertheless, the Wisconsin
       State Legislature and Governor apparently are hoping for a fourth possibility: that
       the efforts of the WEC Administrator, her staff, the municipalities and poll workers,
       as well as voters willing to ignore the obvious risk to themselves and others of



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       proceeding with in-person voting, will thread the needle to produce a reasonable
       voter turnout and no increase in the dissemination of COVID-19.

(4/2/20 Decision and Order, pp. 3.)

       53.     The April 2, 2020 decision of the district court gave plaintiffs in the Pre-Election

Litigation partial relief. Among other things, Judge Conley (a) enjoined the enforcement of the

requirement under Wis. Stat. § 6.87(6) that absentee ballots must be received by 8:00 p.m. on

election day to be counted and extended the deadline for receipt of absentee ballots to 4:00 p.m.

on April 13, 2020; (b) enjoined the enforcement of the requirement of Wis. Stat. §6.86(1)(b) that

absentee ballot requests must be received by April 2, 2020, and extended the deadline for receipt

of absentee ballot requests by mail, fax or email (and if deemed administratively feasible, in the

sole discretion of the WEC Administrator, online) to 5:00 p.m. on April 3, 2020; and (c) enjoined

the enforcement of Wis. Stat. § 6.87(2) as to absentee voters who have provided a written

affirmation or other statement that they were unable to obtain a witness certification despite

reasonable efforts to do so, provided that the ballots are otherwise valid.

       54.     In its April 2, 2020 decision, the district court did not decide the question as to

whether the actual voter turnout, ability to vote on election day, or overall conduct of the election

and counting votes timely has undermined citizens’ right to vote. (4/2/20 Decision and Order, pp.

5 n.3.) Now, with the benefit of the facts of the Spring Election in hand, this action seeks to remedy

these very issues by holding the Defendants responsible for the Wisconsin Legislature’s inaction

in failing to alter the date and procedures for the election. With the Assembly and Senate entirely

controlled by Defendants Vos and Fitzgerald, the Legislative Defendants deprived thousands of

Wisconsin citizens of their fundamental constitutional right to vote and concomitant rights under

the Voting Rights Act and the Americans with Disabilities Act that are designed to avoid

impairment of the right to vote due to race and disability. As Judge Conley determined in his April



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2, 2020 decision in the Pre-Election Litigation, the “infringement on the fundamental right to vote

amounts to an irreparable injury” that “cannot be redressed by money damages” such that

“traditional legal remedies would be inadequate in this case.” (4/2/20 Decision and Order, pp. 25.)

       55.     On April 3, 2020, the day after the district court resolved the motions in the Pre-

Election Litigation cases, Governor Evers exercised his authority to compel the Wisconsin

Legislature into session to take up the issue of postponing the Wisconsin Primary. In calling the

legislature into special session, the Governor urged the legislature to enact legislation allowing an

all-mail election, to send a ballot to every registered voter who has not already requested one by

May 19, 2020, and to extend the time for those ballots to be received to May 26, 2020.

       56.     By this point, the Republican National Committee (which Judge Conley had

allowed to intervene in the Pre-Election Litigation cases) and the Wisconsin Legislature (which

later obtained the right to intervene from the Seventh Circuit) appealed Judge Conley’s April 2,

2020 decision to the United States Court of Appeals for the Seventh Circuit. They sought to stay

the decision pending a full appeal. In a short 4-page ruling, the Seventh Circuit denied the

requested stay as to Judge Conley’s order (a) extending the deadline for the receipt of absentee

ballots to 4:00 p.m. (Central Daylight Time) on April 13, 2020; and (b) extending the deadline for

the receipt of absentee ballot requests to 5:00 p.m. on April 3, 2020. Notwithstanding those results,

the Court of Appeals granted the stay with respect to Judge Conley’s decision altering the need for

witness certification on absentee ballots on the basis that the district court did not give sufficient

consideration to the appellants’ concerns with the risk of voter fraud.

       57.     In a joint statement following the Governor’s April 3, 2020 executive order calling

the Wisconsin Legislature into special session, Defendants Vos and Fitzgerald disingenuously

blamed Governor Evers for causing confusing at such a late date:




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       In a crisis, people look for certainty. In elections during uncertain times, it’s
       important that no one questions the process. That’s why it's so disappointing that
       Gov. Evers has flip-flopped on the very question that we have been discussing over
       the past month. If the governor had legitimate concerns, we could have come to a
       bipartisan solution weeks ago. This discussion would have happened long before
       today. The only bipartisan discussion we’ve had was to ensure the election would
       continue safely and to maximize the opportunity to vote absentee.

There is nothing rational about this assertion. Less than three weeks before this statement,

Wisconsin did not have a single COVID-19 case diagnosed. As Governor Evers pointed out in

response to Defendants’ political rhetoric, the pandemic was worsening with each passing day and

like any responsible leader he acted on the facts as they evolved, not as they once were. Of course,

neither Vos nor Fitzgerald ever intended to “ensure the election would continue safely and to

maximize the opportunity to vote absentee.”

       58.     The Legislative Defendants in fact chose to do the exact opposite. Nothing proves

this more than the approach the Assembly and Senate took to the first special legislative session

held on April 4, 2020 at 4:00 p.m. Each chamber spent less than 20 seconds in their session to

“gavel in and gavel out” without considering Governor Evers’ request to take action about the

Spring Election. Instead, they simply adjourned and agreed to reconvene at 10:00 a.m. on April

6, 2020 where, as it turned out, they again spent a sum total of 20 seconds each in the sham exercise

of pretending to address the people’s business before adjourning. This legislative inaction forms

the heart of this case, because the failure of the State and the Legislative Defendants to postpone

the Spring Election or otherwise establish absentee balloting procedures to ensure that all qualified

voters could vote directly caused the deprivation of the constitutional and statutory rights of the

Plaintiffs and the class members they seek to represent.

       59.     On Sunday, April 5, 2020, numerous Wisconsin mayors sent a letter to Secretary-

Designee Palm at DHS asking her to use the power provided to her office under Wis. Stat. §




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252.03(2) to “close schools and forbid public gatherings in schools, churches, and other places to

control outbreaks and epidemics.”

        60.     The following morning, Governor Evers entered Executive Order No. 74 delaying

the Spring Election to June 9, 2020 or other agreed-upon date established by the Assembly and

Senate. In the order, he again convened the legislature into special session and further authorized

all persons duly serving in office and up for election to continue to serve until the election was

held and certified by the Commission.

        61.     True to form and personality, Defendant Vos promptly tweeted in response to the

Governor’s executive order: “We don’t live in a banana republic where the executive can just

cancel elections because he doesn’t want to hold them.” The intent of the Legislative Defendants

has never been to hold a full and fair election. At every opportunity where they could have both

accounted for the safety of the electorate and preserved the fundamental right to vote, they chose

to adhere to a process they knew would restrict the franchise in violation of the Plaintiffs’

constitutional rights.

        62.     Within hours of the Governor’s order on April 6, 2020, the Wisconsin Legislature

at Defendant Vos and Fitzgerald’s direction filed an original action in the Wisconsin Supreme

Court seeking to overturn the order suspending the Spring Election to June 9, 2020. In a matter of

hours, the Court enjoined Executive Order No. 74, concluding that none of the provisions cited in

the order for suspending the election supported Governor Evers’ decision to do so. Ignoring all the

policy rationales asserted by the Governor and the dissent, a majority of the Wisconsin Supreme

Court enjoined the order and freed the Wisconsin Legislature (and Vos and Fitzgerald) to allow

the Spring Election to proceed despite the deadly pandemic.




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       63.     Several hours later, the United State Supreme Court issued a per curiam decision

that reversed Judge Conley’s April 2, 2020 decision extending the deadline for the receipt of both

absentee ballot requests and completed absentee ballots. In so doing, the Court stayed enforcement

of Judge Conley’s order and held that a Wisconsin voter’s absentee ballot must either be (a) post-

marked by election day, April 7, 2020 and received by the Commission no later than April 13,

2020; or (b) hand-delivered to a certified polling location by 8:00 p.m. (Central Daylight Time) on

April 7, 2020, the day of the Special Election.

       64.     What constitutes a “post-mark” is unclear. On April 10, 2020, the Commission

vigorously debated how it would define a ballot envelope as post-marked when it was asked to

certify the election results after they were announced on April 13, 2020.

       65.     The Legislative Defendants’ protests about election fraud concerns and voter

confusion are mere pablum. Indeed, at one-point Defendants Vos and Fitzgerald sought to move

the election for their preferred Wisconsin Supreme Court candidate (Dan Kelly) when they learned

he would face election on the same day as Wisconsin’s presidential primary. Knowing that national

contests involving presidential elections typically result in higher voter turnout and believing that

higher voter turnout favored Democrats and nonpartisan candidates supported by Democrats (like

Kelly’s challenger), political expedience was always on Vos and Fitzgerald’s mind. Their latest

turn is just more of the same – at the sake of Plaintiffs’ constitutional rights.

The Spring Election

       66.     On April 7, 2020, Wisconsin proceeded to conduct its in-person election despite

having no substantial justification or rational basis for doing so in the midst of the worst public

health emergency in America since the 1918 influenza pandemic. Plaintiffs purposefully bring

this action before the 4 p.m. April 13, 2020 deadline for the announcement of the Spring Election




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results. They do so to show directly and specifically to the Court that this action is not partisan

(about winners and losers) but rather a challenge to the fundamental unfairness of the Legislative

Defendants’ intentional act to force voters into an unreasonable, unfair, and unconstitutional

choice between (a) exercising their fundamental right to vote in an in-person election during a

pandemic; and (b) forgoing their right to vote in order to preserve their life and health and the lives

and health of those close to them and the public overall. To this end, we remind the Court that in

a mere 4 days since the Spring Election was conducted, another 5,864 people died in the United

States of COVID-19. (Cf. April 7, 2020, CNN, “US Marks Record for Most New Coronavirus

Deaths     Reported     in   a   Single   Day”,     last   accessed    on    April    11,   2020     at

https://www.cnn.com/world/live-news/coronavirus-pandemic-04-07-20/index.html                       with

paragraph 38 above.).

         67.   Nearly every community in Wisconsin faced volunteer shortages at the polls,

during the Spring Election, because many who typically would volunteer as poll-workers chose or

were required to forego that work in order to comply with the Safer at Home Order and in order to

be prudent about their health (as well as that of their family and the public at large) by not exposing

themselves to carriers of COVID-19 for fear of becoming infected to their own detriment and the

detriment of others. In Milwaukee, a community of approximately 592,028 people, 180 polling

places were reduced to five. Lines of more than two hours surrounded some polling locations while

each person standing in line violated the Safer at Home Order and exposed themselves to each

other and ultimately the poll-workers and National Guard members who ran the polls, despite their

best efforts to maintain distance.

         68.   Pursuant to Article IV, Section 28 of the Wisconsin Constitution, Defendants Vos

and Fitzgerald (indeed, each member of the Assembly and Senate) each took an oath to “support




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the constitution of the United States and the constitution of the State of Wisconsin” where they

agreed to, “faithfully and impartially discharge the duties of said office to the best of [their]

ability.” This action seeks to redress the Legislative Defendants’ ongoing and flagrant acts in

relation to the Spring Election which demonstrate the violations of the oath each member of the

Assembly and Senate took to support – not infringe – the constitutional rights of Wisconsin

residents generally and its voters specifically.

       69.     Having achieved his legislative aim of pushing through the Spring Election despite

the concerns for public safety, Defendant Vos proclaimed on election day that there was nothing

to worry about and that voters should simply come on out and vote. The morning of April 7, 2020,

he tweeted: “You are incredibly safe to go out.” (Emphasis added.) In what should be considered

the most perverse and tone-deaf exercise of judgment in history, this is how Defendant Vos showed

up, purportedly to work at the “incredibly safe” polls, on April 7, 2020:




Defendant Vos later described his polling place, in sparsely populated Burlington, as less risky

than shopping for groceries. Needless to say, few if any of the voters that Vos forced to the polls

had the kind of personal protective equipment (“PPE”) he obviously believed to be necessary to

be in the vicinity of the very voters he ordered to the poll that day.




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       70.      Despite an established shortage of PPE for medical personnel in our nations’

hospitals, Defendant Vos insisted that Wisconsin voters throw caution to the wind and show up to

exercise their fundamental right to vote. Long ago, the United States Supreme Court concluded

that state legislatures could not take action (or inaction) that thwarted or otherwise established

impediments to voting. By forcing electors like Plaintiffs and the class of voters they seek to

represent to choose between their personal safety and exercising their constitutional right to fully

and fairly vote, the Legislative Defendants placed a massive impediment in the way of Wisconsin

voters’ ability to exercise the franchise on April 7, 2020. Each of the Defendant Commissioners

(and the Commission’s Administrator) had no choice but to implement this illegal scheme, and

would be called upon to implement the remedies requested by Plaintiffs in this action, and for this

reason are joined as Defendants in this suit.

Class Allegations

       71.      Plaintiffs propose a Class consisting of all registered Wisconsin voters and

unregistered Wisconsin voters who were eligible to register who (a) did not vote in person on April

7, 2020; (b) sought to vote absentee but did not receive a ballot despite requesting one from the

State prior to April 7, 2020; or (c) completed and delivered via U.S. Mail or in person an absentee

ballot that is now invalid based on the April 3, 2020 decision of the United States Court of Appeals

for the Seventh Circuit or the April 6, 2020 decision of the United States Supreme Court in the

matters referred to in this Complaint as the Pre-Election Litigation.

       72.      Plaintiffs specifically allege the following sub-classes:

             a. A “Covid-19 Registered Impediment Class” made up of registered Wisconsin

                voters who did not vote absentee and chose to forego in-person voting on April 7,

                2020 due to health and safety concerns stemming from the pandemic;




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   b. A “Covid-19 Unregistered Impediment Class” made up of unregistered Wisconsin

      voters who did not vote absentee and chose to forego registering and voting in

      person on April 7, 2020 due to health and safety concerns stemming from the

      pandemic;

   c. An “Untimely Absentee Ballot Receipt Class” made up of registered Wisconsin

      voters who sought to vote absentee, requested a ballot prior to April 3, 2020, did

      not receive the ballot prior to April 7, 2020, and chose to forego voting in person

      on April 7, 2020 due to health and safety concerns stemming from the pandemic;

   d. An “Absentee Ballot Subsequently Rendered Invalid Class” made up of registered

      Wisconsin voters who voted absentee consistent with Judge Conley’s April 2, 2020

      decision or the April 3, 2020 decision of the Seventh Circuit Court of Appeals

      whose ballots will be invalidated by the Commission due to the April 6, 2020

      decision of the United States Supreme Court;

   e. A “Post-Mark Invalid Class” made up of registered Wisconsin voters who timely

      mailed their absentee ballots consistent with the April 6, 2020 decision of the

      United States Supreme Court but whose ballots will ultimately be rejected because

      of confusion at the Commission over what constitutes a “post-mark” within the

      meaning of that decision;

   f. A “Showed Up to Vote Class” made up of registered and unregistered Wisconsin

      voters who showed up to a polling location to vote or to register (and vote) and

      decided (once there) that the risk of being exposed to COVID-19 was too high and

      subsequently left the polling location without voting or otherwise registering to

      vote;




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             g. An “ADA Class” made up of registered and unregistered Wisconsin voters who

                 due to their disabilities were protected as of April 7, 2020 under the Americans with

                 Disabilities Act and who were unable to exercise their vote in person or via absentee

                 ballot; and

             h. A “VRA Class” made up of all individuals who qualify for protection under the

                 Voting Rights Act and whose membership in the VRA Class entitles them to

                 protection under the Voting Rights Act to be free of voting impediments such as

                 those instituted by Defendants on April 7, 2020.

       73.       This case may be appropriately maintained as a class action under Rule 23 of the

Federal Rules of Civil Procedure because all of the prerequisites set forth under Rule 23 (a) and

23(b) are met.

                                         Rule 23(a) Factors

       74.       Numerosity. Members of the Class are so numerous that joinder of all such

members is impracticable, if not impossible. Although the exact size of the Class is unknown to

Plaintiffs at this juncture, the Commission reported as of April 1, 2020 that Wisconsin had

3,387,130 registered voters. While obviously many of these individuals voted by absentee ballot

or in-person (despite the risk), it is believed and alleged that the number of persons that were

denied the right to vote based on the allegations in this Complaint far exceeds 100,000 people.

       75.       Existence of Common Questions of Fact and Law. There are questions of law and

fact common to the Class with respect to the liability issues, remedies, and anticipated affirmative

defenses. Specifically, such common issues include, but are not limited to:

             a. Class members are all residents of the State;




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             b. Class members were either registered to vote in-person or by absentee ballot on

                April 7, 2020 or unregistered but sought to register and vote in the Spring Election;

             c. All members of the Class were subject to COVID-19 exposure and are presumed

                as of April 7 2020 to have lacked immunity to the disease;

             d. The Safer at Home Order applied to all residents of Wisconsin, including registered

                or unregistered voters in the Class;

             e. The requirements for in-person and absentee voting are identical for each member

                of the Class;

             f. Those who attempted to vote via absentee ballot and took action consistent with

                Judge Conley’s April 2, 2020 decision were equally affected by the Seventh

                Circuit’s April 3, 2020 modifications to that decision and the United States

                Supreme Court’s April 6, 2020 decision reversing Judge Conley’s decision;

             g. Members of the ADA Class are defined by the Americans with Disabilities Act and

                the scope of their rights under that statute are defined and limited by the provisions

                of that federal legislation;

             h. Members of the VRA Class are defined by the Voting Rights Act and the scope of

                their rights under that statute are defined and limited by the provisions of that

                federal legislation;

             i. Whether Defendants’ conduct warrants preliminary and/or permanent injunctive,

                declaratory, and ancillary relief.

       76.      Typicality. Plaintiffs are members of the Classes alleged above. Their claims have

a common origin and share common bases. Plaintiffs’ claims originate from the same illegal and

constitutionally invalid practices of the Defendants, and the Defendants have acted in the same




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way toward the Plaintiffs and each member of the Class. If brought and prosecuted individually,

the claims of each Class member would necessarily require proof of the same material and

substantive facts, rely upon the same remedial theories, and seek the same relief.

       77.     Adequacy. Each Plaintiff named in this Complaint will fairly and adequately

protect the interests of the Class because they and their counsel possess the requisite resources and

experience to prosecute this case as a class action. Plaintiffs’ interests do not conflict with the

interests of the members of the Classes they seek to represent.

                                         Rule 23(b) Factors

       78.     Fed. R. Civ. P. 23(b)(1). The prosecution of separate actions by Class members

would create a risk of inconsistent or varying adjudications with respect to individuals that would

establish incompatible standards of conduct for parties opposing the class under Fed. R. Civ. P.

23(b)(1)(A). In addition, the prosecution of separate actions would create a risk of adjudications

with respect to individual members of the class that would, as a practical matter, be dispositive of

the interests of the other members not parties to the adjudications, and substantially impair, or

impede their ability to protect their interests under Fed. R. Civ. P. 23(b)(1)(B).

       79.     Fed. R. Civ. P. 23(b)(2). Plaintiffs seek prospective and remedial injunctive and

declarative relief to remedy the wrong engaged in by Defendants on April 7, 2020 in relation to

the Spring Election. Defendants have acted or refused to act on grounds that apply generally to the

class by refusing to promote the constitutional rights of the Class, so that final injunctive relief or

corresponding declaratory relief is appropriate respecting the class as a whole.

       80.     Plaintiffs know of no difficulty that will be encountered in the management of this

litigation that would preclude its maintenance as a class action. The names and addresses of the

members of the Class are available from the Commission, which maintains a list of all registered




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voters, those who voted in the April 7, 2020 election in-person or by absentee ballot, and those

who sought the right to vote absentee.

                                        CLAIMS FOR RELIEF

                                    First Claim for Relief
                Violations of Amendments I and XIV of The U.S. Constitution
                                      42 U.S.C. § 1983
                              Total Deprivation of Voting Rights

       81.     Plaintiffs reallege Paragraphs 1 through 80 as if set forth in full.

       82.     The First Amendment guarantees the rights of citizens to participate in the political

process, including the right to vote.

       83.     The Fourteenth Amendment provides that “[n]o State shall . . . deny to any person

within its jurisdiction the equal protection of the laws.”

       84.     The United States Supreme Court ruled in Reynolds v. Sims that because “the right

to exercise the franchise in a free and unimpaired manner is preservative of other basic civil and

political rights, any alleged infringement of the right of citizens to vote must be carefully and

meticulously scrutinized.”

       85.     States are not obligated by the U.S. Constitution to allow absentee voting.

However, once they decide to make absentee voting available, under ordinary circumstances, a

state that denies absentee ballots to some voters while allowing other voters in similar or identical

circumstances to use absentee ballots, without affording a comparable alternative means to vote,

is engaging in arbitrary, invidious discrimination that violates the Equal Protection Clause. When

the State’s arbitrary discrimination rests on its stubborn refusal to acknowledge how the most

serious public health crisis in the United States for more than a century would certainly destroy

many voters’ ability to participate in the Spring Election, the State’s violation of its citizens’ most

fundamental right is outrageous.



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       86.     The Wisconsin Supreme Court’s ruling of April 6, 2020 established that Governor

Evers did not have the right to issue an executive order postponing the election, meaning that right

and authority in Wisconsin existed solely and exclusively with the Assembly and the Senate which

chose not to take action despite the pandemic. Such inaction is the equivalent of action under the

law.

       87.     The United States Supreme Court’s per curiam decision on April 6, 2020 stayed

the April 2, 2020 order of the United States District Court in the Pre-Election Litigation, and thus

rendered unenforceable the District Court’s rulings allowing voters using absentee ballots one

additional week to have their ballots post-marked and received by municipal clerks. The Supreme

Court ruled that under its precedents, the District Court should have refused to alter state election

rules on the eve of an election.

       88.     The inescapable result of the April 6, 2020 decisions by the Wisconsin Supreme

Court and the United States Supreme Court is that the only institution with the power and the

authority to postpone the Spring Election is the Wisconsin Legislature.

       89.     When the Wisconsin Legislature, under the leadership of Defendant Fitzgerald in

the Senate and of Defendant Vos in the Assembly, convened on Saturday, April 4, 2020 under

Governor Evers’s call for a special session seeking to postpone the Spring Election, Defendants

Fitzgerald and Vos each gaveled their sessions dead within 17 seconds in total.

       90.      The April 4, 2020 special session was like a fixed fight; the outcome had obviously

been decided in advance. Plaintiffs, and all members of the Class they seek to represent, then faced

a Hobson’s choice: risk their health and lives – along with the health and lives of their families

and neighbors – by voting in person during a pandemic, or preserve their health, stay home, and

forego exercising a citizen’s most fundamental right. Plaintiffs were in this impossible position




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only because the Legislative Defendants gave literally no weight to the agonizing choice that

Plaintiffs faced.

        91.     The Spring Election took place as scheduled. Fears that eligible citizens would not

vote are no longer mere speculation. Instead, those fears became real deprivations of constitutional

rights thousands and thousands of times all over Wisconsin, as people chose to stay home and

sacrifice their vote rather than run the risk of in-person voting during America’s worst infectious

disease outbreak in more than a century.

        92.     The outright denial of the right to vote is unquestionably the most egregious

possible infringement of that right.

        93.     Plaintiffs, who chose to stay home and preserve their lives and health, may well

have made the wise choice. Lines to vote at many polling places stretched for blocks, and in

Milwaukee some voters waited more than two hours before they cast their ballots. Many voters

did not wear masks or gloves to minimize the chances that they would transmit the virus if they

were unaware they were contagious. At some polling places, there were not enough election

workers to sanitize the ballot-marking tables regularly, let alone between each voter’s use. This is

no criticism of the limited number of poll-workers, who did the best they could in a near-

impossible situation. Instead, the fault lies entirely with the Legislative Defendants, who acted

without regard for the health and safety of the poll-workers or the citizens who voted, or for the

voting rights of the citizens who chose instead to preserve their health and safety in lieu of voting.

        94.     When Defendants Fitzgerald and Vos ended the special session on April 4, 2020, it

was well known that approximately 18 other states had already postponed their primaries because

the responsible decision-makers in those states were exactly that – responsible, recognizing that




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there was no need to cling to scheduled election dates in what were likely the early stages of

America’s worst pandemic since the influenza pandemic of 1918.

        95.      Likewise, it is a matter of historical record that responsible, prudent governments

have postponed elections that were scheduled to take place when emergencies struck. Residents of

New York City were just starting to vote in the city’s mayoral primary when the Twin Towers of

the World Trade Center were attacked by terrorists on September 11, 2001. New York City stopped

the election in progress and held the primary two weeks later.

        96.      Hurricane Katrina destroyed much of New Orleans in late August 2005, and more

than five months later, the city postponed its first round of mayoral voting, originally scheduled

for February 4, 2006, so it could continue to deal with the devastation left in Katrina’s wake. New

Orleans ultimately held the mayoral primary on April 22, 2006.

        97.      The United States Supreme Court has established a test, called “Anderson/Burdick

Balancing,” to guide lower federal courts’ decision making in challenges to state election law,

regardless of the underlying legal theory used to support the challenge. This Court must weigh the

character and magnitude of the injury to the plaintiffs’ First and Fourteenth Amendment rights

against the precise interests put forward by the state as justifications for restricting the right to

vote, in light of the extent to which those state interests make it necessary to impair the plaintiffs’

right to vote.

        98.      In this case, this Court must strike the balance in favor of Plaintiffs.

        99.      Plaintiffs’ right to vote was not merely impaired or burdened. It was utterly

destroyed. Defendants’ refusal to postpone the election completely deprived Plaintiffs of their most

fundamental right.




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       100.     Defendants likely will advance the standard interests of a State defending its

election laws and procedures: they will claim that a partial or full revote as sought by Plaintiffs in

this action will undermine the finality that candidates, voters, governments, and the society at large

are entitled to after an election is completed. They will say that a partial or full revote will be too

costly and too cumbersome. Defendants will contend that voters may be confused if the same set

of issues that appeared on the ballots in the Spring Election is presented to them again. And, they

will argue that a federal court should not delay state elections, pointing to Judge Conley’s April 2,

2020 decision refusing to grant that relief and the United States Supreme Court’s decision rejecting

the much more narrow relief entered by the district court before the election.

       101.     The last point is the most easily refuted: there is a long history of federal courts

ordering a revote or special election to remedy clear constitutional violations of the right to vote.

Preventing a citizen from voting at all is the clearest violation of the Constitution imaginable.

       102.     Voters are not likely to be confused if a revote is ordered. The impact of COVID-

19 on the Spring Election captured mass and social media attention in Wisconsin, across America,

and around the world. Many of the stories dealt with the fundamental injustice done by Wisconsin

to its voters who feared for their health and lives if they exercised the only option that the State

made available to them. An order by this Court mandating a partial or full revote will surely get as

much attention as the initial controversy, attracting the attention of the Wisconsin citizens who

want to vote.

       103.     Arguments against a revote based on cost and finality are the ultimate in cynicism,

echoing the old story of the child who killed his parents and then begged the court for mercy

because he was an orphan. It was clear well before the April 4, 2020 special session of the

Wisconsin Legislature that prudence commanded postponing the election. As of the filing of this




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Complaint, at least eighteen states and territories have postponed their Presidential primary

elections or switched to mail-in voting, usually with extended deadlines. These states made

responsible decisions to respect their citizens’ health and lives, while at the same time fully

preserving their fundamental right to vote. The cavalier attitude of the Legislative Defendants

toward the lives and the fundamental rights of Wisconsin citizens should not be excused because

it is too expensive to remedy the serious wrongs they have done.

        104.    The failure of the Legislative Defendants to postpone the Spring Election violated

the Plaintiffs’ right to vote under the First and Fourteenth Amendments and should be remedied

by an order of this Court ordering a revote. All members of the Class who the Plaintiffs seek to

represent were injured similarly.

        105.    The Legislative Defendants acted under color of law to deprive the Plaintiffs and

those they represent of their right to vote that is guaranteed under the U.S. Constitution.

Accordingly, Plaintiffs are entitled to a declaration of their rights, injunctive relief, and attorneys’

fees and costs pursuant to 42 U.S.C. § 1983.

                                         Second Claim for Relief
                           Violations of The Voting Rights Act (As Amended)
                                             42 U.S.C. §1983

        106.    Plaintiffs reallege Paragraphs 1 through 105 as if set forth in full. Wisconsin has a

centuries-long history of discrimination against African Americans and Latinos that has interfered

with their ability to participate in registration and voting. This history dates back to the State’s

founding in 1848; African Americans did not gain the right to vote until after the Civil War.

        107.    As is set forth in greater detail below, the election statutes and procedures in place

for the Spring Election disproportionally burdened African American and Latino voters.




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       108.    Wisconsin’s striking history of racial segregation, which persists to the present,

reinforces the burden on African American and Latino voters. In some studies, Wisconsin has been

ranked the most segregated state in the nation, and it has made little progress in closing wealth,

achievement, and voting turnout gaps. (See, e.g., https://www.channel3000.com/wisconsin-is-the-

most-segregated-state-in-america-according-to-new-report/).

       109.    According to the U.S. Census Bureau, as of July 1, 2019, 81.1 percent of Wisconsin

residents are self-identified white and not Hispanic or Latino; 6.9 percent are Hispanic/Latino, 6.7

percent Black/African American, and 2.0 percent identify as two or more races.

       110.    However, African American and Latino voters are disproportionally concentrated

into Wisconsin’s population centers. By way of example, the City of Milwaukee’s population as

of July 1, 2019 was 35.3 percent white and not Hispanic/Latino; 38.8 percent Black/African

American;18.8 percent Hispanic/Latino, and 4 percent two or more races. Milwaukee’s total

population is estimated at 592,025 as of July 1, 2018 (the most recent estimate for that figure as

found at https://www.census.gov/quickfacts/milwaukeecitywisconsin). Nearly two-thirds of

Wisconsin’s African Americans live in Milwaukee.

       111.    By comparison, nearby the City of Wauwatosa’s population as of July 1, 2019 was

84.4 percent white and not Hispanic/Latino; 5.2 percent Black/African American, and 3.3 percent

Hispanic/Latino, and 2.9 percent two or more races. Wauwatosa’s population is estimated at

48,376 as of July 1, 2018 (https://www.census.gov/quickfacts/wauwatosacitywisconsin). These

patterns are repeated all over the state, with African American and Latino voters concentrated in

cities such as Beloit, Racine, and Kenosha, and white voters in suburban and rural locations.

       112.    Racial discrimination and animus against minorities has existed since Wisconsin’s

statehood, but sadly it has not waned through passage of time. The Wisconsin Constitution as




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originally enacted permitted African Americans to vote only by referendum of the State’s

electorate (i.e. white men). While the first such referendum passed, African American men did not

gain the right to vote until 1866 (with women following on June 19, 1910).

        113.   From 1913 until 2006, Wisconsin residents were only required to register to vote

before voting if they lived in municipalities with more than 5,000 residents. As is the case today,

African Americans and Latinos lived primarily in larger municipalities, and Wisconsin’s

registration requirements placed a disproportionate burden on African Americans and Latinos.

This scheme was only banned in 2006 pursuant to the Help America Vote Act, 42 U.S.C. §

15438(a).

        114.   Recent campaigns exemplify Wisconsin’s entrenched racism, both explicitly and

implicitly. During then-Supreme Court Justice Louis Butler’s 2008 re-election campaign, his

opponent’s campaign released an infamous ad suggesting that Butler, as a public defender, had

freed a client convicted of sexually assaulting a child, who then went on to reoffend. The ad

featured Justice Butler and his client, each African American, in a manner that was characterized

as “racist visually” by Justice Butler’s former law clerk. The law clerk received racist and harassing

phone calls following the ad (http://archive.jsonline.com/newswatch/230694661.html). Similarly,

during the 2012 gubernatorial recall election, then-Governor Scott Walker declared that “we don’t

want Wisconsin to become like Milwaukee,” and used Willie Horton-esque attack ads to cast

Milwaukee as a “cesspool of permissive misrule,” and pit Black Milwaukee against its largely

white    suburbs   (https://nymag.com/intelligencer/2020/04/covid-19-hits-black-milwaukee-and-

other-communities-hard.html).

        115.   Voting in Wisconsin is racially polarized. African American and Latino voters in

Wisconsin have historically voted at lower levels than white voters, and the gap is larger than in




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other states. According to a study by the Center for American Progress, in the 2012 presidential

election, 67.2 percent of white, non-college educated and 88.4 percent of white, college educated

eligible voters in Wisconsin actually voted, while only 74 percent of eligible African American

and     52.5     percent     of    eligible    Latino      voters   did   so     at    the    time

(https://www.americanprogress.org/issues/democracy/reports/2017/11/01/441926/voter-trends-

in-2016/).

       116.    By 2016, after stringent voter ID laws and other restrictions became law, turnout

percentages across all demographic groups declined; however, the decline was more pronounced

among minority groups than whites. According to the same study, in November 2016, 65 percent

of eligible white, non-college educated and 86.1 percent of eligible white, college educated voters

actually voted, a decline of 2.2 percentage points in each category. However, the percentage of

eligible Latino voters who turned out dropped by 5.8 percent to 46.7 percent, and among eligible

African American voters, turnout dropped a staggering 18.9 percent, to only 55.1 percent. The

onerous restrictions may have kept up to 200,000 voters, disproportionately African American,

from the polls in 2016. (See “Voter Suppression Analysis,” Priorities USA/Civics Analytics, May

3, 2017, available at https://www.scribd.com/document/347821649/Priorities-USA-Voter-

Suppression-Memo#.)

       117.    Wisconsin’s African Americans and Latinos have suffered numerous additional

effects from discrimination and animus, ranging from housing redlining, educational and

employment gaps, and, health disparities. These disparities hinder African Americans and Latinos

from effectively participating in the political process.

       118.    Wisconsin bears the unfortunate distinction of having the worst gap in academic

achievement between African American and white students in any state; moreover, 82 percent of




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African    American        students     were   considered   economically    disadvantaged.       (See

https://www.jsonline.com/story/news/politics/2019/10/30/wisconsin-student-test-scores-stagnate-

black-white-gap-persists/4096609002/.)

       119.    Particularly relevant in this action are disparities in health between white and non-

white populations in Wisconsin. According to a study by the Wisconsin Collaborative for

Healthcare Quality released in September 2019, while Wisconsin ranks high in overall healthcare,

African Americans are less likely than whites to have their high blood pressure and/or high blood

sugar under control; the same is true for Latinos, compared to whites, with regard to high blood

sugar. The black-white life expectancy gap in Wisconsin exceeds six years, well above the national

average,   with    heart     disease,    cancer,   and   homicide   contributing    to   this     gap

(https://bmcpublichealth.biomedcentral.com/articles/10.1186/s12889-019-7145-y).               Multiple

hospitals serving predominantly central city neighborhoods and Milwaukeeans of color have

closed over the last several decades, reducing access to health care for these populations.

       120.    The disparity in COVID-19 cases is no different. According to the Wisconsin DHS,

as of April 8, 2019, Black/African Americans made up 26.9 percent of the state’s confirmed

positive cases of COVID-19, and 42.4 percent of its deaths, despite making up only 6.7 percent of

its population. Middle aged and older African American men in Milwaukee have been particularly

hard hit, and COVID-19 diagnoses have concentrated in Milwaukee neighborhoods that are

predominantly African American and Latino. Milwaukee is not alone in this regard as black

communities in urban centers throughout the United State are being hit especially hard by COVID-

19 for the reasons alleged. (See Eugene Scott, “4 Reasons Coronavirus is Hitting Black

Communities So Hard,” The Washington Post, April 10, 2020, last accessed on April 12, 2020 at




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https://www.washingtonpost.com/politics/2020/04/10/4-reasons-coronavirus-is-hitting-black-

communities-so-hard/.)

       121.    African Americans and Latinos have also been and remain underrepresented in

elected offices in Wisconsin (particularly in the majority Republican caucuses) and those who have

been elected have overwhelmingly been from Milwaukee. Not a single African American had

served as a district attorney until Ismael Ozanne was appointed in Dane County in 2010. Only two

African American individuals, Vel Phillips (Secretary of State, 1979-83) and Mandela Barnes

(Lieutenant Governor, 2019-present), have ever served in statewide non-judicial office, and only

one African American, Gwen Moore, has served as a member of the U.S. House of

Representatives. Justice Louis Butler remains the only African American and only member of a

racial or ethnic minority group to ever serve on the Wisconsin Supreme Court, and none have ever

been elected to the Court (Justice Butler was appointed, and then lost reelection). The first African

American judge to win election in Wisconsin was Carl Ashley in Milwaukee in 1999; the first

Latino judge in Wisconsin, Juan Colas in Dane County, did not take the bench until 2008.

According to a recent study, only 4 percent of Wisconsin judges are men of color.

(https://www.wisbar.org/NewsPublications/InsideTrack/Pages/Article.aspx?Volume=10&Issue=

7&ArticleID=26296.)

       122.    No member of any racial or ethnic minority group has ever been elected U.S.

Senator or Governor from Wisconsin. Currently, of 99 members of the Assembly, there are four

Latino/Hispanic members (two from Milwaukee, one from Beloit, and one from Oak Creek), and

six African American members (all from Milwaukee). Two of 33 members of the Senate are

African American, and both are from Milwaukee. There are no Hispanic/Latino members of the




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Senate. The entire Republican delegation to the Senate is white; there is one Republican member

of the Assembly who is of Hispanic origin and the rest are white.

       123.    African American legislators face obstacles due to their race, even after they are

elected. For instance, in February 2019, a resolution sponsored by the Wisconsin Legislative Black

Caucus honored various individuals in recognition of Black History Month, and the white,

Republican majority objected and forced the removal of Milwaukee-born Colin Kaepernick’s

name from the resolution in what a member of the Caucus called a “slap in the face.”

       124.    The Spring Election reinforced these added burdens on minority voters, particularly

African Americans and Latinos.

       125.    Milwaukee’s nearly 600,000 residents, and a substantial majority of the African

American population of the state, faced a severe downsizing of in-person voting sites. Its voters

crammed into merely 5 polling places, some many miles away from their homes. In a typical

election, Milwaukee has 180 polling places throughout the city, easily accessible on foot to most

voters. Civic and faith-based organizations routinely provide rides to the polls for voters who lack

a way to get to the polls, but due to concerns over infection and liability, those organizations did

not participate this year, leaving thousands of voters, largely African American and/or Latino,

without a way to get to the polls in person.

       126.    Those who did not timely receive absentee ballots, as alleged in this Complaint,

were forced to make a Hobson’s choice between their right to vote and their health or that of people

they lived with and cared for. Despite attempts by election officials to enforce social distancing,

the five Milwaukee polling places were extremely busy. Lines spanned blocks outside, and at one-

point voters waited in a hailstorm. Waits of more than two hours were common.




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       127.    These “costs” of voting, including increased wait time at polling places and reduced

convenience in getting to the polling places, historically depress turnout especially for racial and

ethnic minorities. In addition, racial and ethnic minorities make up a disproportionate percentage

of Wisconsin residents living in poverty, further compounding the barriers to voting.

       128.    Increased health risks have proven to be another “cost” of voting during this

pandemic era. Many voters, particularly African American and Latino voters, as well as older

voters and those with health conditions, made the agonizing choice to stay home rather than risk

their health and that of the community. For example, Plaintiffs Chrystal Edwards, as with many

members of the VRA Class, routinely votes and acts as an example within her neighborhood.

However, due to her family’s serious health conditions as well as concern for her own health and

safety, she had no real choice but to give up her right to vote in the Spring Election.

       129.    By contrast, Wauwatosa had 10 locations open for the Spring Election, and the

locations were “virtually empty as supply outpaced the demand.”            Similar conditions were

reported in Brookfield and Cedarburg, overwhelmingly white suburbs. (See generally

https://www.nytimes.com/2020/04/07/us/politics/wisconsin-democratic-voters.html.) In a similar

vein, the predominantly white Milwaukee suburb of New Berlin, with a population of 39,740,

maintained seven voting locations for the Spring Election; whereas the City of Milwaukee, with a

population almost 15 times New Berlin’s, had only five.

       130.    Defendant Vos almost comically claimed that voting would be “incredibly safe,”

and volunteered to work at a polling place in Burlington, with a population of less than 11,003 as

of July 1, 2018. That population is 88.7 percent non-Hispanic white, and only 0.7 percent

Black/African American and 8.9 percent Latino based on U.S. Census figures. Nonetheless, and

despite this claim of safety, Defendant Vos appeared at his sparsely populated, drive-through




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polling place, clad head-to-toe with PPE not available to any voters in Milwaukee, including gown,

mask, and gloves, belying his representation that voting was “incredibly safe.” His claim to the

Racine Journal Times that there was “less exposure here [at the Burlington drive-through voting

place] than you would get if you went to the grocery store” may or may not have been accurate in

Burlington, but it surely was inaccurate in Milwaukee where between 3,600 and 4,000 people

voted at each polling place and lines stretched for blocks.

       131.    Although reports of absentee ballots that were requested and did not arrive at

voters’ homes in time occurred statewide, thousands of these missing ballots were requested in

Milwaukee, forcing the unconstitutional choice described above. Suburban and rural voters, who

are overwhelmingly white, may have also needed to choose between going to the polls and not

voting at all, but their polling places were far less crowded and far more accessible, as described

in this Complaint.

       132.    Moreover, overwhelmingly white and economically advantaged suburbs such as

Whitefish Bay and Bayside (affluent suburbs of Milwaukee) had far greater per capita resources

and were able to mail absentee ballot request forms to all of their registered voters and saw “sky-

high           rates           of            absentee            voting.”                     (See

https://www.jsonline.com/story/news/politics/elections/2020/04/10/wisconsin-absentee-ballot-

forms-sent-whitefish-bay-bayside-voters/5129125002/.)         This did not happen in Milwaukee,

where voters had to rely on their own resources in order to know where and how to request an

absentee ballot, and many were unable to do so, or did so with no effect.

       133.    Based on the totality of the circumstances, the disproportionate burdens imposed

on African-American and Latino voters from the Spring Election resulted in Wisconsin having




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unequal access to the polls for them and less opportunity than other voters to participate in the

political process, weigh in on referenda, and elect their representatives.

       134.    The circumstances described in this Complaint do not materially benefit Wisconsin.

In fact, said circumstances created a disaster—although Wisconsin had been “flattening the curve,”

the stage has been set for a rapid escalation in COVID-19 cases. Every voter who did show up at

the polls increased their risk of contracting COVID-19 and transmitting it to others. Wisconsin

DHS is cognizant of this fact and is now monitoring through contact tracing the relationship

between new COVID-19 diagnoses and Wisconsin’s April 7, 2020 voting in person over the

coming weeks. (https://www.jsonline.com/story/news/politics/elections/2020/04/09/coronavirus-

wisconsin-state-tracking-whether-cases-tied-voting/.)

       135.     With African Americans becoming sick and dying from COVID-19 at a much

higher rate than white individuals in Wisconsin and nationally, in-person voting has created a

health catastrophe that will be borne by minority voters and minorities generally, in numbers

wildly disproportionate to the population as a whole. The burdens that the actions and inactions

of the Wisconsin Legislature have imposed on voters generally, and African American and Latino

voters in particular, outweigh any benefits of these actions and inactions.

       136.    In Milwaukee, for example, the majority of the five polling stations were located in

COVID-19 “hot spots” where voters were exposed to higher rates of COVID-19 infections and

communal spread. This reality led to higher risks of exposure to individuals who exercised the

franchise and further exacerbated the fear of those trying to determine whether to do so. Milwaukee

County’s          COVID-19            Dashboard           bears         this      out.        (See

https://mcoem.maps.arcgis.com/apps/opsdashboard/index.html#/018eedbe075046779b8062b5fe

1055bf, last accessed on April 13, 2020).




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       137.     The Milwaukee polling locations for the Spring Election were as follows: (a)

Hamilton High School (6215 W. Warnimont Avenue, Milwaukee, WI 53220); (b) Milwaukee

Marshall High School (4141 N. 64th Street, Milwaukee, WI 53216); (c) Riverside High School

(1615 E. Locust Street, Milwaukee, WI 53211); (d) South Division High School (1515 W. Lapham

Boulevard, Milwaukee WI 53204); and (e) Washington High School (2525 N. Sherman Boulevard,

Milwaukee WI 53210). Data extracted from the above referenced Dashboard demonstrates the

high rate of COVID-19 cases in the very zip codes where most of these polling stations where

located as demonstrated on this map:




       138.     The Legislative Defendants had every opportunity to enact measures to ensure safe

and equal access to the polls prior to April 7, 2020, including but not limited to universal voting

by mail and extending the deadline for ballots to be received, but chose to do nothing, placing their

political ambition ahead of the health and safety of millions of their fellow citizens and

constituents.




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       139.    Upon information and belief, the Legislative Defendants have failed to pass

legislation to ensure safe and equal access to the polls because the measures currently in place

disproportionately burden and suppress the votes of African Americans and Latinos in Wisconsin.

       140.    Despite the crowds, voter turnout was significantly depressed in Milwaukee,

demonstrating this burden and suppression that disproportionately affects African American and

Latino voters. (See https://urbanmilwaukee.com/2020/04/07/milwaukee-reports-lower-than-

expected-voter-turnout/.)

       141.    Section 2 of the Voting Rights Act of 1965 provides in part that, “[n]o voting

qualification or prerequisite to voting or standard, practice, or procedure shall be imposed or

applied by any State . . . in a manner which results in a denial or abridgement of the right of any

citizen of the United States to vote on account of race or color.” 52 U.S.C. § 10301(a).

       142.    The failure of the Legislative Defendants to act despite ample opportunity, and

instead require voters to make the choice between risking their health to show up at the polls for

the Spring Election or not vote at all, has abridged and/or denied the voting rights of African

Americans and/or Latinos in Wisconsin on account of race, and has had a disparate adverse impact

on African Americans and/or Latinos in Wisconsin.

       143.    If the requirements regarding absentee and in-person voting remain in force, the

May 12, 2020 Special Election, August 11, 2020 Partisan Primary, and November 3, 2020 General

and Presidential Election will continue to place African American and/or Latino voters at

disproportionate risk, and their voting rights will continue to be abridged and/or denied on account

of their race and the ongoing concerns surrounding COVID-19. This is particularly true given that

health experts (including Dr. Fauci) currently proclaim that “normality” may not resume until at

least November 2020.




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       144.    African Americans in particular have suffered disproportionately from COVID-19,

bearing a greater proportion of the diagnoses and deaths.

       145.    African Americans and Latinos in Wisconsin have suffered from, and continue to

suffer from, discrimination on the basis of race, including through the electoral and political

processes in the State of Wisconsin and its political subdivisions. The ongoing effects of this

discrimination include socioeconomic disparities between African American and Latino

Wisconsinites and white Wisconsinites.

       146.    The interaction of the actions and inactions challenged here under Section 2 of the

Voting Rights Act with the ongoing effects of discrimination in Wisconsin has caused and will

continue to cause an inequality in the opportunity of African Americans and/or Latinos to vote in

Wisconsin.

       147.    Under the totality of the circumstances, the actions and inactions challenged under

Section 2 have resulted and will result in less opportunity for African Americans and/or Latinos

than for other members of the population in Wisconsin to participate in the political process and

to elect candidates of their choice, and they violate Section 2 of the Voting Rights Act.

       148.    The actions and inactions challenged under Section 2 have had and, if not declared

illegal and enjoined, will continue to have a disparate adverse impact on African Americans and/or

Latinos in Wisconsin.

       149.    Accordingly, Plaintiffs are seeking declaratory and injunctive relief as described in

this Complaint.

       150.    The Legislative Defendants acted under color of law to violate the rights of the

VRA Class in derogation of the Voting Rights Act. Accordingly, Plaintiffs are entitled to a




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declaration of their rights, injunctive relief, and attorneys’ fees and costs pursuant to 42 U.S.C. §

1983.

                                     Third Claim for Relief
                        Violation of the Americans with Disabilities Act
                                    42 U.S.C. § 12131 et seq.

        151.   Plaintiffs reallege Paragraphs 1 through 150 as if set forth in full.

        152.   Voting is one of our nation’s most fundamental rights and a hallmark of our

democracy. Yet for too long, people with disabilities have been excluded from this core aspect of

citizenship. People with intellectual or mental health disabilities have been prevented from voting

because of prejudicial assumptions about their capabilities. People who use wheelchairs or other

mobility aids, such as walkers, have been unable to enter the polling place to cast their ballot

because there was no ramp. People who are blind or have low vision could not cast their vote

because the ballot was completely inaccessible to them.

        153.   Invaluable federal civil rights laws have been enacted to combat such forms of

discrimination against those with disabilities and to protect the fundamental right to vote for all

Americans. These laws include: The Americans with Disabilities Act (the “ADA”); The

Rehabilitation Act of 1973 (the “Rehabilitation Act”); the VRA; the Voting Accessibility for the

Elderly and Handicapped Act of 1984 (the “VAEHA”); the National Voter Registration Act of

1993 (“NVRA”); and the Help America Vote Act of 2002 (the “HAVA”).

        154.   This action is brought by Plaintiffs and the Class to enforce Title II of the ADA, 42

U.S.C. §§ 12131-12134, and its implementing regulation, 28 C.F.R. Part 35, against the State, the

Legislative Defendants, and the Commission (which wrongfully implemented the Legislative

Defendants’ policy of inaction that required an in-person vote during the COVID-19 pandemic).




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       155.    Defendants are responsible for selecting facilities to be used as polling places for

federal, state, and local elections and for overseeing the State’s voting program. In failing to

protect Wisconsin residents with disabilities covered by the ADA during the Spring Election at the

time of the COVID-19 pandemic, Defendants violated the ADA.

       156.    At all relevant times hereto, the State, the Legislative Defendants, and the

Commission violated the ADA because singularly or collectively they are a “public entity”

pursuant to 42 U.S.C. § 12131(1) and 28 C.F.R. § 35.104 , such that they are (A) any State or local

government and/or (B) any department, agency, special purpose district, or other instrumentality

of a State or States or local government. As such, Defendants are subject to the requirements of

the ADA, specifically 42 U.S.C. §§ 12131-12134.

       157.    Certain of the Plaintiffs identified in this Complaint were individuals with

disabilities, as defined by the ADA and the Rehabilitation Act, on and before April 7, 2020, the

date of the Spring Election. Disabled individuals have been hit hard by COVID-19 and in certain

instances have faced harm disproportionate to that of the general population from the pandemic.

By insisting on allowing the Spring Election to proceed without consideration of that decision’s

impact on the disabled, the Defendants violated the ADA.

       158.    One of the fundamental underpinnings and policies behind the ADA and the

associated laws identified in paragraph 153 is making voter registration accessible to all. Upon

information and belief, Defendants violated said laws and the purpose behind the laws by failing

to provide the appropriate opportunities to register to vote to Plaintiffs representing the ADA Class

identified above, including assistance in registering to vote and participating in the vote given the

pandemic, regardless of disability. By acting in this manner, Defendants harmed the ADA Class




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by denying its members the same opportunities as nondisabled voters in person during the Spring

Election and the right to otherwise participate equally in the electoral process.

        159.    In communities large and small, people in Wisconsin cast their ballots in the Spring

Election in a variety of facilities that temporarily serve as polling places, such as libraries, schools,

and fire stations, or churches, stores, and other private buildings. The ADA requires that public

entities ensure that people with disabilities can access and use their voting facilities.

        160.    In some circumstances, when a public entity is unable to identify or create an

accessible polling place for a particular voting precinct or ward, election administrators may

instead use an alternative method of voting at the polling place. While absentee balloting can be

offered to voters with disabilities, it cannot take the place of in-person voting for those who prefer

to vote at the polls.

        161.    Any alternative method of voting must offer voters with disabilities an equally

effective opportunity to cast their votes in person.

        162.    One of the fundamental underpinnings and policy behind the above laws is

ensuring policies and procedures do not discriminate against people with disabilities.

        163.    Public entities must ensure that they do not have policies, procedures, or practices

in place that interfere with or prohibit persons with certain disabilities from registering to vote or

voting based on their disability. For example, an election official cannot refuse to provide an

absentee ballot or voter registration form to a person with a disability because the official knows

the voter resides in a nursing home.

        164.    In addition, the laws require public entities to modify their voting policies,

practices, and procedures when such modifications are necessary to avoid discrimination on the

basis of a voter’s disability.




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        165.     One of the fundamental underpinnings and policies behind the above laws is

providing accessible voting systems and effective communication.

        166.     Federal elections are required to have a voting system that is accessible at each

polling place. The accessible voting system must provide the same opportunity for access and

participation, including privacy and independence, that other voters enjoy.

        167.     Members of the ADA Class would have voted in the Spring Election if they had

been afforded reasonable accommodations due to the COVID-19 pandemic.

        168.     At all relevant times hereto, upon information and belief, Defendants intentionally,

with malice and reckless indifference of the Plaintiffs seeking protection of the ADA, violated the

ADA and Rehabilitation Act by refusing to accommodate their disabilities to allow them to vote,

despite knowing that the ADA and Rehabilitation Act required such accommodations.

        169.     At all relevant times hereto, upon information and belief Defendants’

discriminatory conduct toward the ADA Class has caused and continues to cause the Plaintiffs to

not be able to vote in the Spring Election. Such harms were so egregious in the State that they

entitle Plaintiffs to injunctive relief allowing them to vote and for their votes to be counted in the

Spring Election and future elections.

        170.     At all relevant times hereto, upon information and belief, Plaintiffs had to retain

legal counsel to bring this action and as such according to the ADA and the Rehabilitation Act the

below identified attorneys shall be entitled to fair and reasonable attorneys’ fees and costs incurred

in bringing this action under the ADA.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

respectfully request that this Court order relief as follows:




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       a.      Declaring that Plaintiffs and the Class were unconstitutionally disenfranchised by

Defendants’ decision to proceed with the Spring Election on April 7, 2020;

       b.      Ordering a complete revote of the Spring Election at a date and time determined by

the Court to allow all registered and unregistered (but otherwise duly qualified electors) to safely

participate in in-person and/or absentee voting after public health officials have determined that

COVID-19 has sufficiently dissipated in Wisconsin so as to allow such voting to occur;

       c.      Ordering in the alternative to a partial revote using mail-in procedures to allow

those who did not vote in the Spring Election to vote or register (and vote) by a date certain set by

the Court and in accordance with reasonable procedures set by the Court;

       d.      Declaring that by allowing the Spring Election to proceed, the Defendants violated

Title II of the ADA, 42 U.S.C. §§ 12131-12134, and its implementing regulation, 28 C.F.R. Part

35 by limiting the ability of each member of the ADA Class to vote;

       e.      Declaring that by allowing the Spring Election to proceed as alleged in this

Complaint, the Defendants violated Section 2 of the Voting Rights Act and disenfranchised

members of the VRA Class;

       f.      Enjoining the Defendants, their agents and successors in office, and all persons

acting in concert with them from failing or refusing promptly to comply with the requirements of

the ADA, the VRA, and their implementing regulations;

       g.      Ordering the Defendants, their agents and successors in office, and all persons

acting in concert with them to promptly develop a plan, within 20 days of this Court's order, to

remedy the demonstrated violations of the ADA, the VRA, and their implementing regulations,

and to fully and completely remedy the violations to allow the ADA Class and VRA Class to vote

in the Special Election;




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       h.      Prospectively requiring that the State establish mail-in voting procedures for all

elections being held in 2020 to the extent COVID-19 remains a health risk for Wisconsin residents

such that voters need not be required to choose between their health and safety and the right to

vote, including (i) the May 12, 2020 Special Election for Congressional District 7; (ii) the August

11, 2020 Partisan Primary; and (iii) the November 3, 2020 General and Presidential Election;

       i.      Imposing all other preliminary, permanent, declaratory, and supplemental relief as

alleged herein or otherwise pursued in this action;

       j.      Certifying each and every Class and Sub-Class as defined this this Complaint or

hereafter established pursuant to Fed. R. Civ. P. 23;

       k.      Appointing the undersigned as Class counsel under Fed. R. Civ. P. 24(g);

       l.      Awarding attorneys’ fees and costs to Plaintiffs pursuant to the statutory enactments

alleged in this Complaint; and

       m.      Ordering such other appropriate relief as the interests of justice or this Court may

require.

       Dated this 13th day of April 2020.




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